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                                                                  julie@northstarscientificsolutions.com
                                                            http://www.northstarscientificsolutions.com




                    NORTH STAR SCIENTIFIC SOLUTIONS LLC

                    CONSULTING AGREEMENT-ADDENDUM D


         ADDENDUM TO CONSULTING AGREEMENT EXECUTED June 8, 2021


      IN WITNESS WHEREOF, the Parties hereto have executed this Agreement as of the date
first written above.
                                                 MICHIGAN HEALTH CLINICS



                                                 By:

                                                 Name:

                                                 Title:
                                                                (“Company”)



                                                 NORTH STAR SCIENTIFIC SOLUTIONS LLC



                                                 By:
                                                 Name: Julie Taylor
                                                 Title: Member
                                                               (“Consultant”)




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                               EXHIBIT D (April 7, 2022) Phase 3

                          DESCRIPTION OF CONSULTING SERVICES


Description of Services

   1. The Consultant will ultimately complete the Project Plan attached to this addendum. The
      specific tasks (Phase 3) listed below in this section shall commence immediately upon
      executing this contract.
   2. Further detail of the tasks listed below are in the original Project Plan and a summary
      attached to this addendum.
   3. Completion of Phase 3 Tasks as described here.
          a. Analytical Methods
                   i. Method Validation
                          1. Prepare Validation Reports (MIT employee to complete validation
                             experiments based on validation plans provided.) Data and
                             information to be provided by MIT employee to NS3.
                  ii. SOPs/Work Instructions
                          1. Finalize SOPs for all test methods. 50% to be completed/billed after
                             validations are complete.
                          2. Note: Final method SOPs cannot be complete until method
                             validations are completed.
                 iii. Method Assessment Procedures
                          1. Determine appropriate procedures to monitor method performance
                             over time for each assay.
                 iv. Method Training
                          1. Cross train staff for assays as needed
                  v. Sampling
                          1. Training for Sampling Procedures
          b. ISO/IEC 17025
                   i. Quality Management System Software
                          1. Implement ISO Policies and Procedures
                  ii. ISO Specific Training
                          1. Train employees on ISO 17025 procedures
                 iii. ISO 17025 Application & Assessment
                          1. Submit ISO 17025 Application
                 iv. ISO 17025 Application & Assessment
                          1. ISO 17025 Practice Assessment
                  v. ISO 17025 Assessment
                 vi. ISO 17025 Corrective Actions and Accreditation
          c. Other, as needed. (To be determined)

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                                 EXHIBIT D (April 7, 2022) Phase 3

                                         COMPENSATION

Consultant maintains two (2) payment arrangements for Services rendered by Consultant under
this Addendum to the original Agreement. Fees for each task are described in the fee structure
below. On a project fee basis, Company shall pay Consultant a certain amount of money, on the
terms set forth below, to complete Phase 3 of the project described in Exhibit D April 7, 2022
above. On an hourly basis, Company shall pay Consultant at either an hourly, daily, or weekly rate
for Services, according to the fees below. and Company agrees to pay Consultant according to the
terms of the Consulting Agreement signed June 8, 2021. The Consultant will maintain a time sheet
for work to be submitted with the invoice. The Parties agree to the following Payment structure:

       [X]     Hourly. Company shall pay Consultant at a rate of $200 per hour of Services for
               remote services.

       [X]    Onsite Daily. Company shall pay Consultant at a rate of $1,500 per day per person
              for onsite Services (less than 5 consecutive days).

       [X]    Onsite Weekly. Company shall pay Consultant at a rate of $7,000 per week per
              person for Services when 5 or more consecutive days of onsite work are scheduled
              (replaces On site Daily Rate)

Company shall pay the Payment to Consultant by the following method:

       [ ]     Check.

                        Payable to:   North Star Scientific Solutions LLC
                        Mailed to:    North Star Scientific Solutions LLC
                                      14143 Denver West Parkway Suite 100
                                      Golden, CO 80401
                                      Attn: Julie Taylor
       [ ]    Credit Card. Company shall be liable for a 2.9% processing fee.




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                                         FEE STRUCTURE

Consultant originally provided Project Plan (June 8, 2021) with Project Fees for deliverables.
Deliverables were initially intended to be completed remotely. However, Consultant will be on
site more than anticipated. Consultant will track time for deliverables, whether on site or remote
and paid based on the Compensation section of this Addendum. Billable time for each
deliverable will not exceed the time/fee noted in the Project Plan, where applicable.

                      Task/Deliverable                        NS3 Max. Fee from "Original Project
                                                                             Plan"
 Laboratory Set Up
 Set up small equipment                                                         $7,500
 Small Equipment Calibration                                                    $3,000
 Analytical Methods
 Method Development
 Method Development of analytical methods                              TBD (billed hour/daily)
 Method Optimization                                                   TBD (billed hour/daily)
 Method Validation
 Validation Reports                                                             $57,750
 Method Assessment Procedures
 Determine appropriate procedures to monitor method
                                                                                $5,775
 performance over time for each assay.
 SOPs/Work Instructions
 Develop finalized SOPs for all methods                               $9,600 (Remaining 50%)
 Develop Work Instructions                                                    $7,000
 Method Training
 Cross train staff for assays as needed                          TBD (billed hourly/daily/weekly)
 Sampling
 Sampling Procedures
 Training for Sampling Procedures                                                 $800
 ISO/IEC 17025
 Quality Management System Software
 Implement QMS                                                                  $7,000
 ISO Specific Training
 Train employees on ISO 17025 procedures                         TBD (billed hourly/daily/weekly)
 ISO 17025 Application & Assessment
 ISO 17025 Practice Assessment                                                  $3,000
 ISO 17025 Assessment                                                           $4,500
 ISO 17025 Corrective Actions and Accreditation                                 $7,000
 Other, As needed
 To be determined                                                TBD (billed hourly/daily/weekly)




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